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UNITED STATES DISTRICT COURT ing, 4 gy) 6 /
WESTERN DISTRICT OF WASHINGTON & 6%. “2
AT SEATTLE aS
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STATE OF WASHINGTON; (STATE OF 2:25-cv-00127ICC”

ARIZONA; STATE OF ILLINOIS; and
STATE OF OREGON), Plaintiffs

Against

DONALD TRUM, et al. Defendants
MARK MARVIN, Petitioner |

NOTICE OF AMENDED BRANZBURG V. HAYES MOTION

For the following reasons, his Amended Application under Branzburg
v. Hayes (1972, 408 U.S. 665, 92 S.Ct. 2646) should come on before this
honorable court (see: Roberts v. U.S. 1980, 445 U.S. 552, 557-58, 100
S.Ct. 1358, 1362, citing: Branzburg v. Hayes, 1972, 408 U.S. 665, 696, 92
S.Ct. 2646, 2664) and Complaint be dismissed. Petitioner says:

1, Plaintiffs seek Declaratory and Injunctive relief regarding
defendants abandonment of unconstitutional practice of citizenship by
accident of birth to mothers who are not citizens themselves. (Executive
Order, January 20, 2025)

2, The Fourteenth Amendment Section 1 states “All persons born in
the United States, and subject to the jurisdiction thereof, are citizens of the
United States....” (owing allegiance)

3, Defendants contend that newborns would be “stripped of
(accidental) citizenship” (Paragraph 3: 9). This is commonly called a
“right i.e. “birthright citizenship.” Citizenship by birth provides for their
“right to travel freely and re-enter the United States ...their right to vote,
(the right) to serve on juries, and run for certain offices. (Paragraph 4)
Plaintiffs describe rights to “fully and fairly be a part of American society as
a (live) citizen with all its benefits and privileges.
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4, Plaintiffs have expressed no concern for the non-aborted children
and no plan to educate them in the advantages of “American society ... with
all its benefits and privileges” so that they can responsibly vote, serve on
juries, and run for certain offices.”

5, Plaintiffs’ real concern (Paragraph 5) is that “Plaintiff States will
suffer immediate and irreparable harm by losing federal funding or
reimbursement to programs....” (and that they vote “responsibly” for
leftists who would have them aborted?)

6, Plaintiffs allude to almost every “right” except a “birthright right”
to be born alive and not destroyed by an abortionist. For unfathomable
reasons plaintiffs seek to protect every conceivable right of the newborn
except the right of live birth as long as the non-aborted children grow up to
vote for federal funding, etc. (vote responsibly for leftists)

7, Plaintiffs have expressed no desire to protect the right of an infant
to be born alive, and consequently, their Complaint must be considered
illogical, disingenuous, a hoax on the court and certainly not in the public
interest and not justiciable.

(CASA, INC. v. Trump, N.J.. v. Trump)

8, Plaintiffs imply that rights are all or nothing, and have omitted e.g.
the IRS Substantial presence test, where “you will be considered a United
States resident for tax purposes if you meet the substantial presence test for
the calendar year.

(To meet this test, you must be physically present in the United States (U.S.)
on at least: 1, 31 days during the current year, and 2, 183 days during the
3-year period that includes the current year and the 2 years immediately
before that, counting: All the days you were present in the current year, and
1/3 of the days you were present in the first year before the current year, and
1/6 of the days you were present in the second year before the current year.)

9, Plaintiffs public position is that birthright children should grow
up with full rights of citizenship, but that they can be killed by abortion
‘since birthright does not protect the birth right to be born alive and not
killed by an abortionist, and this is a clear conflict of interest.
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WHEREFORE, as Plaintiff's Complaint appears dishonest and a
conflict of interest, and contrary to the public interest, the Fourteenth
Amendment clause “subject to the jurisdiction thereof’ (owing allegiance)
should be understood as applicable to citizenship: live born and/or aborted
children who are subject to jurisdiction thereof (U.S. v. Wang Kim Ark,
(1898) 169 U.S. 649) and dismissed.

See: (birthright cases)

Von Schwerdtner v. Piper, D.C. Md, 23 F.2d 862, 863,

U.S. v. Minoru Yasaui, D.C. Ore, 48 Supp. 40, 54,

Haaland y. Attorney General of U.S., D.C. Md., 42 F.Supp. 13, 22 (born
outside US), .

U.S. Hester, C.C\A., OKI, 137 F.2d 145, 147 (Indians),

National Banks, Am. Surety v. Bank of Calif, C.C.A. Or, 133 F.2d 160, 162.

Affirmed as true on information and belief,

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Mark Marvin

135 Mills Road
Walden, N.Y. 12586
845-778-4693
April 06, 2025

To:

US. District Court, Western District of Washington, 700 Stewart Street,
Suite 2310, Seattle, WA 98101

Nicholas Brown, Attorney General, 806 Fifth Ave. Suite 2000, Seattle

Washington, 98104-3188

U.S. Attorney, Att.: Brad Rosenberg, U.S. Dept of Justice, Civil Division,
Federal Programs, 1100 L. Street, NW, Washington D.C. 20005

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STATE OF WASHINGTON, et al. 2:25-cv-00127 JCC By
Plaintiffs
Against

DONALD TRUMP, et al. Defendants
MARK MARVIN, Petitioner

MEMORANDUM OF LAW

CONFLICT OF INTEREST IN SUPPORT OF BIRTHRIGHT
CITIZENSHIP OF INFANTS AS OPPOSED TO CONTRADICTORY,
CONFLICT OF INTEREST SUPPORT OF ABORTION DEATH OF SAME
INFANTS MAKES ADJUDICATION IMPOSSIBLE.

Plaintiff(s) has acted to promote statewide abortion (death) of infants
he now claims to protect birthright rights of, except right to be born alive.

Under 32 CFR 776.26, an attorney shall not represent a client if that
representation involves a concurrent conflict of interest which exists if there
is significant risk that that representation of one or more clients will be
materially limited by the covered attorney’s responsibilities to another
client, a former client, or a third person or by a personal interest of the
covered attorney. (Mickens v. Taylor, Warden, 2002, 535 U.S. 162, citing:
“circumstances of that magnitude (different result, i.e. prejudice) U.S. v.
Cronic, 466 U.S. 648, 659, N,. 26, may also arise when defendant’s attorney
actively represented conflicting interests.” (See also: U.S. v. Miller, CA-

Mass, 463 F.2d 600, 602)
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“Simultaneous representation of defendant and person who threatened
to kill defendant was actual conflict of interest.” (U.S. v. Nicholson, CA-4,
2010, 2007,475 F.3d 241, [8,9]) (611 F.3d 191)

Conflict of interest in homicide case (applicable to abortion of
birthright eligible infant) was prejudicial. (Lockhart v, Terhune, CA-9,
2001, 250 F.3d 1223; Sanders v. Ratelle, 1994, CA-9, 21 F.3d 1446; Lewis
v. Mayle, CA-9, 2004, 391 F.3d 989; Clark v. Chappell, 2019, CA-9, 936
F.3d 944/ and Beets v. Scott, CA-5, 1995, 65 F.3d 1258; Stewart v.
Wolfenbarger, CA-6, 2006, 468 F.3d 338)

CONCLUSION: Conflict of interest enjoins adjudication.

Mark Marvin
135 Mills Road
Walden, N.Y. 12586

April 7, 2025
Case 2:25-cv-00127-JCC

Mark Marvin
135 Mills Road
Walden, N.Y. 12586

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